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     2   VIVOLI SACCUZZO, LLP
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         San Diego, California 92103
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         (619) 744-9994 (Fax)
     5
     6   Attorneys for Defendant,
     7   CORNERSTONE FIRST MORTGAGE, LLC

     8                         UNITED STATES DISTRICT COURT
     9                      SOUTHERN DISTRICT OF CALIFORNIA
    10
    11   APRIL SHAKOOR-DELGADO,            ) Case No.: 24CV1811 MMA-BLM
         individually and on behalf of all others
                                           )
    12   similarly situated,               ) DEFENDANT’S NOTICE OF
    13                                     ) MOTION AND MOTION TO
    14            Plaintiff,               ) DISMISS THE THIRD CAUSE OF
                                           ) ACTION OF PLAINTIFF’S
    15   vs.                               ) COMPLAINT; MEMORANDUM
    16                                     ) OF POINTS & AUTHORITIES IN
         CORNERSTONE FIRST                 ) SUPPORT THEREOF;
    17   MORTGAGE, LLC,                    ) DECLARATION OF MICHAEL
    18                                     ) W. VIVOLI IN SUPPORT
                  Defendant.               ) THEREOF
    19
                                           )
    20                                     ) Hearing Date: March 24, 2025
    21                                     ) Hearing Time: 2:30 p.m.
                                           ) Courtroom:       3C
    22                                     )
    23   _________________________________ ) Complaint Filed: October 9, 2024
    24
    25   TO: ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
    26         PLEASE TAKE NOTICE THAT Defendant Cornerstone First Mortgage,
    27   LLC (“Cornerstone”) hereby moves, pursuant to Rule 12(b)(6) of the Federal
    28   Rules of Civil Procedure (“FRCP”), to dismiss the third count within Plaintiff’s

                                                 1
             DEFENDANT’S FRCP RULE 12(b)(6) MOTION TO DISMISS PLAINTIFF’S THIRD CAUSE OF ACTION
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     1   Class and Collective Action Complaint (“Complaint”) for violation of the Illinois
     2   Wage Payment and Collect Act – Unlawful Expense Reimbursements.
     3         Cornerstone’s motion is made pursuant to FRCP Rule 12(b)(6) and on
     4   grounds Plaintiff has failed to allege she submitted any request for reimbursement
     5   as required by Section 9.5 of the Illinois Wage Payment and Collection Act
     6   (“IWPCA”), even after the insertion of factually false assertions regarding
     7   Cornerstone’s purported “policy” concerning employee reimbursements. As such,
     8   Plaintiff’s Complaint fails to state a claim for violation of the IWPCA as to
     9   expense reimbursements and Count Three of Plaintiff’s Complaint should be
    10   dismissed without leave to amend given Plaintiff cannot truthfully amend the
    11   Complaint to assert an actionable claim for failing to reimburse employee expenses
    12   under the IWPCA.
    13         Cornerstone’s motion is based on this notice of motion and motion, on the
    14   attached memorandum of points and authorities in support thereof, on the attached
    15   Declaration of Michael W. Vivoli and on the complete court record and file herein,
    16   including Plaintiff’s Complaint (Doc. No. !).
    17
    18   Dated: February 7, 2025           VIVOLI SACCUZZO, LLP
    19
    20
                                           By: /s/ Michael W. Vivoli
    21                                         MICHAEL W. VIVOLI
    22                                         Attorneys for Defendant,
                                               CORNERSTONE FIRST MORTGAGE, LLC
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            DEFENDANT’S FRCP RULE 12(b)(6) MOTION TO DISMISS PLAINTIFF’S THIRD CAUSE OF ACTION
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     1                   MEMORANDUM OF POINTS & AUTHORITIES
     2   1.     INTRODUCTION
     3          Cornerstone is a San Diego-based mortgage lender that maintains branch
     4   offices in various states throughout the country, including Illinois.             Plaintiff
     5   voluntarily left her remote employment in Illinois with Cornerstone in ! only to
     6   return in !. (See Complaint, at ¶ !.) Plaintiff now alleges, by way of the third count
     7   of her Complaint, that Cornerstone failed to reimburse Plaintiff for the high-speed
     8   internet, cell phone, and unspecified equipment and office expenses she claims to
     9   have been forced to incur as part of her remote employment with Cornerstone in
    10   Illinois, in violation of the Illinois Wage Payment and Collection Act (“IWPCA”).
    11   Notably, Plaintiff originally filed her Complaint in the District Court for the
    12   Northern District of Illinois, where Cornerstone filed a motion to dismiss her third
    13   count on grounds it failed to make any allegation that Plaintiff complied with
    14   Section 9.5 of the IWPCA, which limits reimbursement to expenses submitted
    15   within 30 calendar days of their having been incurred. (See Exhibit “!” to the
    16   Declaration of Michael W. Vivoli, filed herewith.)
    17          Upon withdrawing her Complaint in the Northern District of Illinois and re-
    18   filing her Complaint in this District, Plaintiff still fails to allege that she complied
    19   with the IWPCA by submitting a written request for reimbursement of expenses
    20   incurred in connection with her employment at Cornerstone. (See Complaint, at ¶¶
    21   !-!.) Instead, Plaintiff seeks to sidestep that requirement (and Plaintiff’s tacit
    22   admission she never submitted a request for reimbursement as required by the
    23   IWPCA) by vaguely alleging that Cornerstone “had no expense reimbursement
    24   policy which permitted Plaintiff and the IWPCA Class Members to request that
    25   these necessary expenditures be reimbursed by Cornerstone.” (See Doc. 1, at ¶ 55.)
    26   In addition, Plaintiff falsely alleges that “at all relevant times, it was Cornerstone’s
    27   policy that the necessary expenditures detailed herein were not eligible for
    28   reimbursement.” (Id. at ¶ 56.)

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              DEFENDANT’S FRCP RULE 12(b)(6) MOTION TO DISMISS PLAINTIFF’S THIRD CAUSE OF ACTION
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     1          Plaintiff’s “amendment” fails to cure the defect outlined in Cornerstone’s
     2   prior motion to dismiss the third count of Plaintiff’s Complaint. As argued before,
     3   the IWPCA expressly requires an employer to reimburse an employee for
     4   necessary expenditures incurred by the employee within the scope of their
     5   employment so long as those expenses are submitted within 30 calendar days. (See
     6   820 ILCS 115/9.5.) Because Plaintiff’s Complaint fails to allege compliance with
     7   the IWPCA, the third count within her Complaint fails as a matter of law. As such,
     8   Cornerstone moves to dismiss it, without leave to amend or replead.
     9   2.     RELEVANT FACTS
    10          On Jun 19, 2024, Plaintiff filed a Complaint in the Northern District of
    11   Illinois alleging three causes of action against Cornerstone, with whom she alleged
    12   she was employed between ! and !, and again commending on !. (See Exhibit “!” to
    13   the Vivoli Decl.)      In response, Cornerstone filed its answer and affirmative
    14   defenses to counts one and two, but filed a motion to dismiss count three based on
    15   Plaintiff’s failure to allege her own compliance with the IWPCA, upon which she
    16   purported to base her suit. (See Vivoli Decl., at Exhibit “!” thereto.)
    17          Plaintiff dismissed her Illinois complaint and re-filed with this Court on
    18   August 26, 2024. (See Doc. No. 1.) Rather than allege her compliance with the
    19   IWPCA, Plaintiff instead alleges that “Cornerstone had no expense reimbursement
    20   policy which permitted Plaintiff and the IWPCA Class Members to request that
    21   these necessary expenditures be reimbursed by Cornerstone.” (Id. at ¶¶ 55 and
    22   128.) In addition, Plaintiff alleges that, “at all relevant times, it was Cornerstone’s
    23   policy that the necessary expenditures detailed herein were not eligible for
    24   reimbursement.” (Id. at ¶¶ 56 and 129.)
    25          However, nowhere does Plaintiff plead her compliance with the express
    26   requirements of the IWPCA by submitting a written request for reimbursement of
    27   eligible expenses within thirty (30) days, as is required under the IWPCA. As a
    28   result, the Court should dismiss Plaintiff’s third count, without leave to amend.

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              DEFENDANT’S FRCP RULE 12(b)(6) MOTION TO DISMISS PLAINTIFF’S THIRD CAUSE OF ACTION
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     1   3.     AUTHORITY FOR MOTION
     2          A 12(b)(6) motion to dismiss may be made on any of the grounds
     3   enumerated in Rule 12(b)(6) provided it is made before pleading if a responsive
     4   pleading is allowed. (FRCP 12(b); Aetna Life Ins. Co v. Alla Med. Services, Inc.,
     5   855 F.2d 1470, 1474.) Such grounds include a failure to state a claim upon which
     6   relief can be granted. (See FRCP 12(b)(6); Elvig v. Calvin Presbyterian Church,
     7   375 F.3d 951, 954-955 (9th Cir. 2004).)
     8          Here, Cornerstone is answering Plaintiff’s first and second counts, but
     9   hereby moves to dismiss the third count, which requires Plaintiff to allege that she
    10   timely presented a written request for reimbursements within thirty (30) days of
    11   incurring them, or at such later time as Cornerstone’s written policy provides. (820
    12   ILCS 115/9.5(b).)       Because Plaintiff has not and cannot truthfully allege a
    13   violation of the IWPCA for failing to comply with that statute, this Court should
    14   grant Cornerstone’s motion to dismiss her third count without leave to amend or
    15   replead.
    16   4.     LEGAL ARGUMENT
    17          4.1    Count Three of Plaintiff’s Complaint Fails to State a Claim
    18                 Upon Which Relief Can Be Granted Under the IWCPA.
    19          Count three of Plaintiff’s Complaint alleges Cornerstone failed to reimburse
    20   necessary expenses in violation of the IWPCA. However, Plaintiff fails to allege
    21   that she ever submitted her alleged expenses to Cornerstone for reimbursement.
    22   However, the IWPCA provides as follows:
    23         An employee shall submit any necessary expenditure with appropriate
    24         supporting documentation within 30 calendar days after incurring the
               expense, except that an employer may provide additional time for
    25         submitting requests for reimbursement in a written expense
    26         reimbursement policy. Where supporting documentation is
               nonexistent, missing, or lost, the employee shall submit a signed
    27         statement regarding any such receipts.
    28   (820 ILCS 115/9.5(a).)

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              DEFENDANT’S FRCP RULE 12(b)(6) MOTION TO DISMISS PLAINTIFF’S THIRD CAUSE OF ACTION
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     1         The IWPCA also makes clear that an employer is only liable for failing to
     2   comply with its own written expense reimbursement policy. To that end, the
     3   IWPCA provides as follows:
     4         An employee is not entitled to reimbursement under this Section if (i)
     5         the employer has an established written expense reimbursement policy
               and (ii) the employee failed to comply with the written expense
     6         reimbursement policy. An employer is not liable under this Section
     7         unless the employer authorized or required the employee to incur the
               necessary expenditure or the employer failed to comply with its own
     8         written expense reimbursement policy. If the written expense
     9         reimbursement policy of an employer establishes specifications or
               guidelines for necessary expenditures, the employer is not liable under
    10
               this Section for the portion of the expenditure amount that exceeds the
    11         specifications or guidelines of the policy so long as the employer does
    12         not institute a policy that provides for no reimbursement or de
               minimis reimbursement.
    13
    14   (820 ILCS 115/9.5(b).)
    15         Here, to survive a motion to dismiss, Plaintiff must allege that she submitted
    16   the claimed expenses with appropriate documentation within 30 day of incurring
    17   the expense, unless Cornerstone’s written policy provided for a longer period of
    18   time. (Prokhorov v. IIK Transp., Inc., 20 CV 6807, 2024 WL 3694523, at *12
    19   (N.D. Ill. Aug. 7, 2024).) Without evidence that an employee submitted requests
    20   for reimbursements as required by the IWPCA, an employee cannot recover
    21   Section 9.5 of the IWPCA. (Ibid. [“Because there's no evidence in the record of
    22   requests made by drivers and reimbursements unfulfilled by IIK, no reasonable
    23   jury could find that IIK failed to reimburse employees under Section 9.5.”].)
    24         Notably, Plaintiff makes no assertion that Cornerstone maintained a “written
    25   policy” concerning the expenses at issue in her Complaint, nor does Plaintiff
    26   alleged, anywhere, that she ever submitted her claimed expenses in writing, as
    27   outright mandated by the IWPCA. Accordingly, Cornerstone again moves to
    28   dismiss Plaintiff’s third count, without leave to amend or replead.

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             DEFENDANT’S FRCP RULE 12(b)(6) MOTION TO DISMISS PLAINTIFF’S THIRD CAUSE OF ACTION
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     1   5.     CONCLUSION
     2          For all the foregoing reasons, Cornerstone respectfully requests this Court
     3   grant Cornerstone’s motion to dismiss count three of Plaintiff’s Complaint without
     4   leave to amend.
     5
     6   Dated: February 7, 2025             VIVOLI SACCUZZO, LLP
     7
     8
                                             By: /s/ Michael W. Vivoli
     9                                           MICHAEL W. VIVOLI
    10                                           Attorneys for Defendant,
                                                 CORNERSTONE FIRST MORTGAGE, LLC
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              DEFENDANT’S FRCP RULE 12(b)(6) MOTION TO DISMISS PLAINTIFF’S THIRD CAUSE OF ACTION
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     1                     DECLARATION OF MICHAEL W. VIVOLI
     2         I, MICHAEL W. VIVOLI, declare as follows:
     3         1.     I am an attorney duly licensed to practice before all courts of the State
     4   of California and this District Court and am a partner in the law firm of Vivoli
     5   Saccuzzo, LLP, attorneys of record for Defendant herein, CORNERSTONE
     6   FIRST MORTGAGE, LLC (“Cornerstone”). I have personal knowledge of all
     7   facts set forth herein and, if called upon to testify thereto, I could and would
     8   competently do so.
     9         2.     Attached hereto as Exhibit “A” is a true and correct copy of a
    10   Complaint originally filed by Plaintiff with the District Court for the Northern
    11   District of Illinois. In response to Exhibit “A,” Cornerstone filed an answer and
    12   motion to dismiss the third count of that Complaint. A true and correct copy of
    13   that motion is attached hereto as Exhibit “B.”
    14         3.     Upon the Illinois matter being dismissed and this lawsuit filed, I have
    15   met and conferred with counsel for Plaintiff regarding deficiencies in the
    16   Complaint re-filed here, and notified counsel of Cornerstone’s intention to file a
    17   motion to dismiss on the same grounds as were raised in Illinois. Plaintiff’s
    18   counsel originally offered to stay this case until the parties mediated, but ultimately
    19   failed to reach agreement on a mutually acceptable mediator, or to mediate at all
    20   given the limited information available concerning Plaintiff’s claims at this time.
    21   Among other things, I have communicated to Plaintiff’s counsel that
    22   notwithstanding the allegations of the Complaint, Cornerstone currently employs
    23   only eight (8) people in the State of Illinois.
    24         I declare under the penalty of perjury under the laws of the United States of
    25   America the foregoing is true and correct and that this Declaration was executed on
    26   this 7th day of February, 2025, in San Diego, California.
    27
                                                            /s/ Michael W. Vivoli
    28                                                     MICHAEL W. VIVOLI
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             DEFENDANT’S FRCP RULE 12(b)(6) MOTION TO DISMISS PLAINTIFF’S THIRD CAUSE OF ACTION
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                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF ILLINOIS

     April Shakoor-Delgado, individually and on
     behalf of all others similarly situated,           No.
                           PIaintiff,
                                                              ----------
                                                        CLASS AND COLLECTIVE ACTION
     v.                                                 COMPLAINT
     Cornerstone First Mortgage, LLC
                           Defendant.



           Plaintiff, April Shakoor-Delgado ("Plaintiff'), individually and on behalf of all other

    persons similarly situated, sues the Defendant, Cornerstone First Mortgage, LLC (hereafter

    "Defendant" or "Cornerstone,.) and alleges as follows:

                                    PRELIMINARY STATEMENT

           I.      This lawsuit arises under the Fair Labor Standards Act ("FLSA 0), 29 U.S.C. § 201,

    et seq., Illinois Minimum Wage Law ("IMWL''), 820 ILCS 105/1, et seq., lllinois Wage Payment

    and Collection Act ("IWPCA"), 820 115/1 et seq. and Fed. R. Civ. P. 23 for Defendant's failure

    to pay Plaintiff and other similarly-situated employees all earned minimum and overtime wages.

           2.      Plaintiff, the Collective Members _and the Class Members are current and former

    employees of Cornerstone. Plaintiff brings this action on behalf of herself and all similarly-

    situated current and fonner non-exempt employees who were not paid one-and-one-half times their

    regular rate of pay for all hours worked in excess of forty (40) hours in any given workweek (also

    referred to as the HCovered Positions").

           3.      The Collective Members are all current and fonner non-exempt employees who

    were not paid one-and-one-half times their regular rate of pay for all hours worked in excess of



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    forty (40) hours in any given workweek (also referred to as the "Covered Positions") at any time

    starting three years before this Complaint was filed, up to the present.

           4.      The IMWL Class Members are all current and former non-exempt employees who

    were employed in Illinois and were not paid one-and-one-half times their regular rate of pay for

    all hours worked in excess of forty (40) hours in any given workweek at any time starting three

    years before this Complaint was filed, up to the present.

           5.      The IWPCA Class Members are all current and former non-exempt employees who

    were employed in Illinois and who worked for Cornerstone remotely at any time starting January

    1, 2019, up to the present.

           6.      Under the FLSA and IMWL, employers must pay all non-exempt employees an

    overtime wage premium of pay one and one-half times their regular rate of pay for all time they

    spend working in excess of 40 hours in a given workweek. For the purposes of computing the

    lawful overtime rate, an employee's regular rate of pay must include all non-discretionary bonus

    payments. See 29 C.F.R. 778.208-215.

           7.      Under the IWPCA, "[a]n employer shall reimburse an employee for all necessary

    expenditures or losses incurred by the employee within the employee's scope of employment and

    directly related to services performed for the employer." 820 ILCS 115/9.S(a). Cornerstone

    violated the IWPCA by failing to adequately reimburse Plaintiff and the IWPCA Class Members

    for the equipment, internet, cell phone, and remote office expenses necessary to perform their job

    duties for Cornerstone.

           8.      Plaintiff, the Collective Members and the IMWL Class Members were paid

    commissions in their work for Cornerstone. However, Cornerstone did not pay Plaintiff, the




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    Collective Members and the IMWL Class Members any overtime whatsoever for the work that the

    performed which was in excess of forty (40) hours in any given workweek.

                                      JURISDICTION AND VENUE

            9.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 and 29

    U.S.C. § 201, et seq. because this civil action arises under the laws of the United States.

            10.      Venue is proper in this district pursuant to 28 U.S. C. § 13 91 (b )( ii) because acts

    giving rise to the claims of Plaintiff and the Collective Members occurred within the Northern

    District of Illinois.

            11.      Plaintiff performed work and was employed by Cornerstone within this Judicial

    District.

            12.      Cornerstone is a Delaware corporation with its principal place of business in San

    Diego, California.

            13.      Plaintiff, the Collective Members and the Class Members in their work for

    Cornerstone were employed by an enterprise engaged in commerce that had annual gross sales of

    at least $500,000.

                                                  PARTIES

            14.      At all times material to the matters alleged in this Complaint, Plaintiff was an

    individual residing in DuPage County, Illinois, and is an employee of Cornerstone.

            15.      Plaintiff has been employed by Cornerstone as a loan officer from November

    2021 through the present.

            16.      The IMWL Class Members, IWPCA Class Members and Collective Members are

    all current and former employees in the Covered Positions who worked for Cornerstone at any

    point in the three years preceding the filing of this Complaint.


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           17.     Under the IMWL, IWPCA and FLSA, Cornerstone is an employer. At all relevant

    times, Cornerstone had the authority to hire and fire employees, supervised and controlled work

    schedules or the conditions of employment, determined the rate and method of payment, and

    maintained employment records in connection with Plaintifrs, the Collective Members' and the

    Class Members' employment. As a person who acted in the interest of Cornerstone in relation to

    the company's employees, Cornerstone is subject to liability under the IMWL, IWPCA and FLSA.

           18.     At all material times, Plaintiff and the Class and Collective Members were

    employees of Cornerstone as defined by the IMWL, IWPCA and FLSA, 29 U.S.C. § 203(e)(l).

           19.     At all material times, Plaintiff and the Class and Collective Members were non-

    exempt employees under 29 U.S.C. § 213(a)(l).

           20.     Plaintiff has given her written consent to be named party Plaintiff in this action

    pursuant to 29 U.S.C. § 216(b), a true and accurate copy of which is attached to this Complaint

    as Exhibit "A."

           21.     At all relevant times, Plaintiff and the Class and Collective Members, in their

    work for Cornerstone, were engaged in commerce or the production of goods for commerce.

           22.     At all relevant times, Plaintiff and the Class and Collective Members, in their

    work for Cornerstone were engaged in interstate commerce.

                                     FACTUAL ALLEGATIONS

           23.    Cornerstone is a full-service mortgage lender.

           24.    At all relevant times, Plaintiff, the Collective Members and the IMWL Class

    Members were paid on commissions.

           25.    At all relevant times, Plaintiff, the Collective Members and the IMWL Class

    Members regularly worked in excess forty hours in a given workweek.


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           26.     However, Cornerstone failed to pay Plaintiff, the Collective Members and the

    IMWL Class Members any overtime whatsoever for their work which was in excess of forty hours

    in any given workweek.

           27.     The IMWL Class Members and the Collective Members were likewise paid on a

    commission basis.

           28.     The IMWL Class Members and the Collective Members likewise worked in excess

    of forty (40) hours in a given workweek during the three-years prior to the filing of this lawsuit.

           29.     The IMWL Class Members and the Collective Members likewise were not paid any

    overtime whatsoever for their work which was in excess of forty hours in any given workweek.

           30.     Plaintiff, the IMWL Class Members and the Collective Members were non-exempt

    employees.

           31.     Plaintiff, the IMWL Class Members and Collective Members were not managers.

    They did not have supervisory authority over any employees, did not possess the authority to hire

    or fire employees, did not possess authority to make critical job decisions with respect to any of

    Cornerstone's employees, did not direct the work of two or more employees, and did not exercise

    discretion and independent judgment with respect to matters of significance.

           32.     The primary duty of Plaintiff, the IMWL Class Members and Collective Members

    was not the management of the enterprise in which they were employed or any recognized

    department of the enterprise.

           33.     At all relevant times, Plaintiff and the IWPCA Class Members work to meet the

    day-to-day customer service needs of Cornerstone.




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           34.     In other words, without Plaintiff and the IWPCA Class Members, Cornerstone

    would have little to no customer service and Cornerstone would not be able to operate as a

    profitable business.

           35.     At all relevant times, Cornerstone has imposed strict high-speed internet, dedicated

    phone, and dedicated home office space requirements upon Plaintiff and the IWPCA Class

    Members.

           36.     At all relevant times, Cornerstone has failed to reimburse Plaintiff and the IWPCA

    Class Members for the costs of such Qigh-speed internet, dedicated phone, and dedicated home

    office expenses.

           37.     At all relevant times, the high-speed internet required by Cornerstone was for

    Cornerstone's benefit.

           38.     At all relevant times, Plaintiff and the IWPCA Class Members were required to

    work on Cornerstone's software platform, which requires employees to be connected to the

    internet via a high-speed connection.

           39.     In other words, Plaintiff and the IWPCA Class Members could not fulfill their job

    duties for Cornerstone without a high-speed connection.

           40.     At aJI relevant times, the dedicated phone line required by Cornerstone was for

    Cornerstone's benefit.

           41.     At all relevant times, Plaintiff and the IWPCA Class Members were required to

    work on Cornerstone's software program, which requires Plaintiff and the IWPCA Class Members

    to have a dedicated phone line.

           42.     In other words, Plaintiff and the IWPCA Class Members could not fulfill their job

    duties for Cornerstone without a high-speed connection.


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              43.   At all relevant times, Cornerstone required Plaintiff and the IWPCA Class

    Members to provide and maintain a quiet, dedicated, clutter-free remote work space.

              44.   Cornerstone's home office requirements are designed to ensure that its brand

    standards are met and that Cornerstone presents itself to its customers in a professional and positive

    light.

              45.   Rather than providing and maintaining appropriate office space for Plaintiff and the

    IWPCA Class Members, Cornerstone passed the expense of providing the same to Plaintiff and

    the IWPCA Class Members without reimbursing them for any of the expenses for providing and

    maintaining the same.

              46.   Plaintiff and the IWPCA Class Members have been responsible for equipment and

    monthly expenses associated with maintaining a functional and appropriate remote office.

                            COLLECTIVE ACTION ALLEGATIONS

              47.   Plaintiff and the Collective Members reallege and incorporate by reference all

    allegations in all preceding paragraphs.

              48.   Plaintiff brings this action pursuant to 29 U.S.C. § 216(b) on her own behalf and as

    a representative of individuals similarly situated who are current or former employees of

    Cornerstone in the Covered Positions.

              49.   Cornerstone subjected all of their employees within the Covered Positions,

    including Plaintiff and the Collective Members, to their policy and practice of not paying them

    one and one-half times their regular rates of pay for all time they spent working in excess of 40

    hours in a given workweek, in violation of 29 U.S.C. § 207(a).

              50.   At all times material, Plaintiff and the Collective Members are and have been

    similarly situated, have had substantially similar job requirements and pay provisions, and are and


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    have been subject to Cornerstone's decision, policy, plan, and common programs, practices,

    procedures, protocols, routines, and rules of willfully subjecting Plaintiff and the Collective

    Members to their policy and practice of not paying the employees within the Covered Positions

    one and one-half times their regular rates of pay for time they spent working in excess of 40 hours

    in a given workweek.

            51.     Plaintiffs claims stated in this complaint are essentially the same as those of the

    Collective Members. This action is properly maintained as a collective action because in all

    pertinent aspects the employment relationship of individuals similarly situated to Plaintiff is

    identical or substantially similar.

            52.     The Collective Members perform or have performed the same or similar work as

    Plaintiff.

            53.     Cornerstone's failure to pay overtime compensation required by the FLSA results

    from generally applicable policies or practices, and does not depend on the personal circumstances

    of Plaintiff or the Collective Members.

            54.     Although the exact amount of damages may vary among the Collective Members,

    the damages for the Collective Members can be easily calculated by a simple formula. The claims

    of all Collective Members arise from a common nucleus of facts. Liability is based on a systematic

    course of wrongful conduct by Cornerstone that caused harm to all of the Collective Members.

            55.     As such, Plaintiff bring his FLSA overtime claim as a collective action on behalf

    of the following class:

                    All current and former non-exempt employees of Cornerstone who
                    worked in excess of forty (40) hours in any given workweek and were
                    not paid one-and-one-half times their regular rate of pay, at any time
                    starting three years before this Complaint was filed, up to the present.



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             56.   Cornerstone's unlawful conduct, as described herein, is pursuant to its corporate

    policy or practice of minimizing labor costs by refusing and/or failing to properly compensate its

    employees according to the FLSA.

             57.   Cornerstone was aware or should have been aware that federal law prohibited them

    from failing to pay Plaintiff and the Collective Members one and one-half times their regular rates

    of pay for time they spent working in excess of 40 hours in a given workweek.

             58.   Cornerstone's unlawful conduct has been widespread, repeated, and consistent.

             59.   This action is properly brought and maintained as an opt-in collective action

    pursuant to 29 U.S.C. § 216(b).

             60.   Upon information and belief, the individuals similarly situated to Plaintiff include

    hundreds, and possibly thousands, of current and former Cornerstone employees. Plaintiff is

    unable to state the precise number of similarly-situated employees because that information is

    solely in Cornerstone's possession, custody, or control, but it can be readily ascertained from their

    employment records.

             61.   Notice can be provided to the Collective Members by First Class Mail to the last

    address known to Cornerstone, via email at the last known email address known to Cornerstone,

    by text message to the last known telephone number known to Cornerstone and by workplace

    posting at each of Cornerstone's facilities.

                            RULE 23 CLASS DEFINITIONS AND ALLEATIONS

       62.         Plaintiff realleges and incorporates by reference all allegations in all preceding

    paragraphs.

       63.         Plaintiff brings Claims for Relief for violation of the IMWL as a class action




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    pursuant to Rule 23(a), (b)(2), and (b)(3). Plaintiff brings these claims on behalf of himself and all

    members of the following Class Members:

                   The IMWL Class Members are current and former non-exempt
                   employees of Cornerstone who worked in Illinois and who worked in
                   excess of forty (40) hours in any given workweek and were not paid
                   one-and-one-half times their regular rate of pay any time starting three
                   years before this Complaint was ftled, up to the present.

                   The IWPCA Class Members are current and former non-exempt
                   employees of Cornerstone who worked remotely in Illinois at any time
                   from January 1, 2019 up to the present.

                   Numerosity (Rule 23(a)(l)).

       64.         The Classes are so numerous that joinder of all members is impracticable.

    Plaintiff on information and belief alleges, that Cornerstone employed greater than one hundred

    people who satisfy the definition of the IMWL and IWPCA Class.

                   a. Existence of Common Questions of Law and Fact (Rule 23(a)(2)).

       65.         Common questions of law and fact exist as to the Plaintiffs and the members of

    the IMWL and IWPCA Class including, but not limited to, the following:

               a. Whether Cornerstone unlawfully failed to pay members of the IMWL Class the

                   overtime wage, in violation of the Illinois Minimum Wage Law;

               b. Whether Cornerstone failed to adequately reimburse the IWPCA Class Members

                   for the costs of performing their job duties remotely in their work for Cornerstone;

               c. Whether Cornerstone unlawfully failed to keep and maintain accurate and true

                   records of the hours worked by members of the Illinois class as required by

                   applicable law; and

               d. The damages sustained and the proper measure of restitution recoverable by

                   members of the IMWL and IWPCA Classes.
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                   b. Typicality (Rule 23(a)(3)).

       66.         Plaintiffs claims are typical of the members of the IMWL and IWPCA Class

    Members' claims. Plaintiff, like other members of the IMWL and IWPCA Classes, was subjected

    to Cornerstone's illegal scheme to maximize profits by depriving their employees of overtime

    compensation and making adequate expense reimbursements.

                   c. Adequacy (Rule 23(a)(4)).

       67.         Plaintiff will fairly and adequately represent and protect the interests of the

    members of the IMWL and IWPCA Classes. Plaintiff has retained counsel competent and

    experienced in complex class actions, the FLSA, and state labor and employment litigation.

                   d. Injunctive and Declaratory Relief (Rule 23(b)(l)).

       68.         Class certification of the Rule 23 claims is appropriate pursuant to Rule 23(b)(2)

    because Cornerstone acted or refused to act on grounds generally applicable to the members of the

    IMWL Class, making appropriate declaratory relief with respect to the members of the IMWL and

    IWPCA Classes as a whole.

                   e. Predominance and Superiority of Class Action (Rule 23(b)(3)).

       69.         Class certification of the Rule 23 claims is also appropriate under Rule 23(b)(3)

    because questions of law and fact common to members of the IMWL and IWPCA Classes

    predominate over any questions affecting only individual members of the Classes, and because a

    class action is superior to other available methods for the fair and efficient adjudication of this

    litigation. Cornerstone's common and uniform policies and practices illegally deprived Plaintiff

    and all similarly situated employees of wages; thus, making the question of liability and damages

    much more manageable and efficient to resolve in a class action, compared to hundreds of

    individual trials. The damages suffered by individual members of the IMWL and IWPCA Classes


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    are small compared to the expense and burden of individual prosecution of this litigation. In

    addition, class certification is superior because it will obviate the need for unduly duplicative

    litigation that might result in inconsistent judgments about Cornerstone's practices.

        70.          Plaintiff intends to send notice to all members of the IMWL and IWPCA Class

    Members to the extent required by Rule 23.

                         COUNT ONE: FAIR LABOR STANDARDS ACT
                        FAILURE AND/OR REFUSAL TO PAY OVERTIME

              71.   Plaintiff and the Collective Members reallege and incorporate by reference all

    allegations in all preceding paragraphs.

              72.   Under the FLSA, employers must pay al 1non-exempt employees an overtime wage

    premium of pay one and one-half times their regular rate of pay for an time they spend working in

    excess of 40 hours in a given workweek. For the purposes of computing the lawful overtime rate,

    an employee's regular rate of pay must include all non-discretionary bonus payments. See 29

    C.F.R. 778.208-215.

              73.   At all relevant times, Plaintiff and the Collective Members were compensated on a

    commission basis.

              74.   At all relevant times, Plaintiff and the Collective Members regularly worked in

    excess forty hours in any given workweek.

              75.   Plaintiff was not paid any overtime whatsoever for the hours which she worked that

    were in excess of forty hours.

              76.   The Collective Members were likewise paid on a commission basis.

              77.   The Collective Members likewise worked in excess of forty (40) hours in a given

    workweek during the three-years prior to the filing of this lawsuit.




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           78.     The Collective Members likewise were not paid any overtime whatsoever for their

    work which was in excess of forty hours in any given workweek.

           79.     As a result, Cornerstone has intentionally failed and/or refused to pay Plaintiff and

    the Collective Members overtime according to the provisions of the FLSA, 29 U.S.C. § 207.

           80.     Although at this stage, Plaintiff and the Collective Members are unable to state the

    exact amount owed for all time worked during the course of their employment, Plaintiff and the

    Collective Members believe that such information will become available during the course of

    discovery. Furthermore, when an employer fails to keep complete and accurate time records,

    employees may establish the hours worked by their testimony, and the burden of overcoming such

    testimony shifts to the employer.

           81.     Cornerstone knew that - or acted with reckless disregard as to whether - its refusal

    or failure to properly compensate Plaintiff and the Collective Members over the course of their

    employment would violate the FLSA, and Cornerstone was aware of the FLSA' s overtime

    requirements. As such, Cornerstone's conduct constitutes a willful violation of the FLSA.

           82.     As a result of Comerstone~s failure or refusal to pay Plaintiff and the Collective

    Members a wage equal to one and one-half times their regular hourly rate for all work they

    performed for Cornerstone in excess of their regular 40-hour workweek, Cornerstone violated 29

    U.S.C. § 207(a). Plaintiff and the Collective Members are therefore entitled to compensation of

    one and one-half times their regular rate of pay, to be proven at trial, plus an additional equal

    amount as liquidated damages, together with interest, reasonable attorney's fees, and costs.

                        COUNT TWO: ILLINOIS MINIMUM WAGE LAW
                                  UNPAID OVERTIME

           83.     Plaintiff realleges and incorporates by reference all allegations in all preceding

    paragraphs.

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           84.     Under the IMWL, employers must pay all non-exempt employees an overtime

    wage premium of pay one and one-half times their regular rate of pay for all time they spend

    working in excess of 40 hours in a given workweek. For the purposes of computing the lawful

    overtime rate, an employee's regular rate of pay must include all non-discretionary bonus

    payments.

           85.     At all relevant times, Plaintiff and the IMWL Class Members were compensated

    via a base wage with the opportunity to earn certain non-discretionary commissions and bonuses.

           86.     At all relevant times, Plaintiff and the IMWL Class Members regularly worked in

    excess forty hours in any given workweek.

           87.     Plaintiff was not paid any overtime whatsoever for the hours which she worked that

    were in excess of forty hours.

           88.     The IMWL Class Members were likewise paid on a commission basis.

           89.     The IMWL Class Members likewise worked in excess of forty (40) hours in a given

    workweek during the three-years prior to the filing of this lawsuit.

           90.     The IMWL Class Members likewise were not paid any overtime whatsoever for

    their work which was in excess of forty hours in any given workweek.

           91.     Cornerstone has engaged in a widespread pattern and practice of violating the

    provisions of the IMWL by failing and/or refusing to pay Plaintiff and the IMWL Class Members

    in accordance with IMWL § 820 105/4(a).

           92.     Cornerstone has willfully failed and/or refused to pay Plaintiff and the IMWL Class

    Members overtime according to the provisions of the IMWL.

           93.     Although at this stage, Plaintiff and the IMWL Class Members are unable to state

    the exact amount owed for all time worked during the course of their employment, Plaintiff and


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    the IMWL Class Members believe that such infonnation will become available during the course

    of discovery. Furthermore, when an employer fails to keep complete and accurate time records,

    employees may establish the hours worked by their testimony, and the burden of overcoming such

    testimony shifts to the employer.

           94.     Cornerstone knew that - or acted with reckless disregard as to whether - their

    refusal or failure to properly compensate Plaintiff and the IMWL Class Members over the course

    of their working from home would violate Illinois law, and Cornerstone was aware of the Illinois

    overtime wage requirements during Plaintifrs and the IMWL Class Members' employment. As

    such, Cornerstone's conduct constitutes a willful violation of the IMWL.

           95.     Cornerstone has and continues to willfully violate the IMWL by not paying Plaintiff

    and the IMWL Class Members a wage equal to one and one-half times their regular rates of pay

    for all time spent performing labor in excess of their regular 40-hour workweek.

           96.     As a result of Cornerstone's failure or refusal to pay Plaintiff and the IMWL Class

    Members a wage equal to one-and-one-half times Plaintiff's and the IMWL Class Members'

    regular rates of pay for work they performed for Cornerstone in excess of their regular 40-hour

    workweek, Cornerstone violated IMWL 820 § 105/4(a). Plaintiff and the IMWL Class Members

    are therefore entitled to compensation of one-and-one-half times their regular rates of pay, to be

    proven at trial, plus statutory damages and interest, reasonable attorney's fees, and costs.

                  COUNT THREE: ILLINOIS WAGE PAYMENT AND COLLECT ACT
                          UNLAWFUL EXPENSE REIMBURSEMENTS

           97.     Plaintiff realleges and incorporates by reference all allegations in all preceding

    paragraphs.

           98.     Under the IWPCA, "[a]n employer shall reimburse an employee for all necessary

    expenditures or losses incurred by the employee within the employee's scope of employment and

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    directly related to services performed for the employer." 820 ILCS 115/9.S(a). Cornerstone

    violated the IWPCA by failing to adequately reimburse Plaintiff and the IWPCA Class Members

    for the equipment, internet, cell phone, and remote office expenses necessary to perform their job

    duties for Cornerstone.

           99.      Plaintiff and the IWPCA Class Members work in a "remote" work-from-home

    environment.

           100.     At all relevant times, Cornerstone has imposed strict high-speed internet,

    dedicated phone, and dedicated home office space requirements upon Plaintiff and the

    IWPCA Class Members.

           10 t .   At all relevant times, Cornerstone has failed to reimburse Plaintiff and the

    IWPCA Class Members for the costs of such high-speed internet, dedicated phone, and dedicated

    home office expenses.

           I 02.    At all relevant times, the high-speed intemet required by Cornerstone was for

    Cornerstone's benefit.

           103.     At all relevant times, Plaintiff and the IWPCA Class Members were required to

    work on Cornerstone's software platform, which requires employees to be connected to the

    internet via a high-speed connection.

           104.     In other words, Plaintiff and the IWPCA Class Members could not fulfill their job

    duties for Cornerstone without a high-speed connection.

           105.     At all relevant times, th~ dedicated phone line required by Cornerstone was for

    Cornerstone's benefit.




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            106.      At all relevant times, Plaintiff and the IWPCA Class Members were required to

    work on Cornerstone's software program, which requires Plaintiff and the IWPCA Class

    Members to have a dedicated phone line.

            107.      In other words, Plaintiff and the IWPCA Class Members could not fulfill their job

    duties for Cornerstone without a high-speed connection.

            I 08.     At all relevant times, Cornerstone required Plaintiff and the IWPCA Class

    Members to provide and maintain a quiet, dedicated, clutter-free remote work space.

            109.      Cornerstone's home office requirements are designed to ensure that its brand

    standards are met and that Cornerstone presents itself to its customers in a professional and

    positive light.

            110.      Rather than providing and maintaining appropriate office space for Plaintiff and

    the IWPCA Class Members, Cornerstone passed the expense of providing the same to Plaintiff

    and the IWPCA Class Members without reimbursing them for any of the expenses for providing

    and maintaining the same.

            111.      As a result, Cornerstone has intentionally failed and/or refused to pay Plaintiff

    and the IWPCA Class Members according to the provisions of the IWPCA.

            112.      Cornerstone has willfully failed and/or refused to pay Plaintiff and the IWPCA

    Class Members according to the provisions of the IWPCA.

            113.      Although at this stage, Plaintiff and the IWPCA Class Members are unable to

    state the exact amount owed for all time worked during the course of their employment, Plaintiff

    and the IWPCA Class Members believe that such information will become available during the

    course of discovery.




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            114.    As a result of Cornerstone's failure or refusal to adequately reimburse Plaintiff

     and the Class Members for the internet, cell phone and equipment expenses necessary to perform

     their job duties for Cornerstone, Cornerstone violated 820 ILCS 115/9.S(a). Plaintiff and the

     IWPCA Class Members are therefore entitled to payment of all unreimbursed expenses, plus

     statutory damages and interest, reasonable attorney's fees, and costs.

            WHEREFORE, Plaintiff, April Shakoor-Delgado individually, and on behalf of all other

     similarly situated persons, requests that this Court grant the following relief in Plaintiffs, the

    Collective Members', the IMWL Class Members' and the IWPCA Class Members' favor, and

    against Defendant, Cornerstone First Mortgage, LLC:

            A.      For the Court to declare and find that the Cornerstone committed one or more of

                    the following acts:

                    i.      violated the overtime provisions of the FLSA, by failing to pay proper

                           overtime wages;

                    ii.    willfully violated the overtime provisions of the FLSA;

                    iii.   violated the overtime provisions of IMWL, by failing to pay proper

                           overtime wages; and

                    iv.    willfuJly violated the overtime provisions of the IMWL;

                    v.     violated the expense reimbursement provisions of the IWPCA; and

                    vi.    willfully violated the expense reimbursement provisions of the IWPCA.

            B.      For the Court to award damages in the amounts of all unpaid overtime wages and

                    expenses due and owing to Plaintiff, the Collective Members and the Class

                    Members;




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            C.       For the Court to award compensatory damages, including liquidated damages

                     pursuant to 29 U.S.C. § 216(b), in amounts to be determined at trial;

            D.       For the Court to award prejudgment and post-judgment interest on any damages

                    awarded;

            E.       For the Court to award all statutory damages, interest, attorney fees and costs owed

                     to Plaintiff and the IMWL Class Members under the IMWL.

            F.       For ·the Court to award all statutory damages, interest, attorney fees and costs owed

                     to Plaintiff and the IWPCA Class Members under the IWPCA.

            G.       For the Court to award Plaintiffs and the Collective Members' reasonable

                    attorneys' fees and costs of the action pursuant to 29 U.S.C. § 216(b) and all other

                    causes of action set forth in this Complaint.

            H.       For the Court to provide a reasonable incentive award for Plaintiff to compensate

                     her for the time she spent attempting to recover wages for the Collective Members

                     and Class Members and for the risks she took in doing so; and

            I.      Such other relief as this Court deems just and proper.

                                        DEMAND FOR JURY TRIAL
            Plaintiff, the FLSA Collective, and the Illinois Class Members hereby demand a jury trial

    on all causes of action and claims with respect to which they each have a state and/or federal

    constitutional right to a jury trial.

    DATED: June 19, 2024.
                                                   Respectfully submitted,


                                                   sf Michael L. Fradin
                                                   Michael L. Fradin, Esq.
                                                   8401 Crawford Ave. Ste. l 04
                                                   Skokie, IL 60076

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                                  CONSENT TO JOIN FLSA COLLECTIVE

                   I consent to join the collective action lawsuit do hereby consent to be a party plaintiff to

         pursue minimum wage and/or overtime claims against Cornerstone First Mortgage. I authorize

         my Attorneys to file the Complaint on my behalf and for other employees similarly situated. I

         authorize the Attorneys to represent me in the Lawsuit and make decisions on my behalf,

         including how to conduct the Lawsuit, settlement, and all other matters related to the Lawsuit.

        lnDocuSlgned by:
                                                                                     6/17/2024
        ~{~~~~r-O~k
         April Shakoor-Delgado                                                    Date
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                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF ILLINOIS

     APRIL SHAKOOR-DELGADO, individually and on)
     behalf of all others similarly situated,  )
                                                           )
                    Plaintiff,                             ) Case No. 24-CV-05103
                                                           )
            v.                                             ) Judge Martha M. Pacold
                                                           )
                                                           ) Magistrate Judge: Heather K. McShain
     CORNERSTONE FIRST MORTGAGE, LLC,                      )
                                                           )
                    Defendants.                            )

                   DEFENDANT CORNERSTONE FIRE MORTGAGE, LLC'S
                 MOTION TO DISMISS COUNT III OF PLAINTIFF'S COMPLAINT

            Defendant Cornerstone First Mortgage, LLC ("Cornerstone") hereby moves this Court to

     dismiss Count III of Plaintiffs Class and Collective Action Complaint ("Complaint").

                                            INTRODUCTION

            Count III of Plaintifrs Complaint alleges Cornerstone failed to reimburse Plaintiff for the

     high-speed internet, cell phone, and unspecified equipment and office expenses. Dkt. 1, Complaint,

     p. 15-18. However, Plaintiff fails to make a claim or otherwise provide any factual support that

     she submitted requests for reimbursements as required by Section 9.S of the Illinois Wage Payment

     and Collection Act ("IWPCA"). 820 ILCS 115/9.5. The IWPCA requires an employer to reimburse

     employees for necessary expenditures incurred by the employee within the scope of their

     employment so long that those expenses are submitted within 30 calendar days. Id. Because

     Plaintiff does not (and cannot) allege that she made such requests, Plaintiff has failed to state a

     claim for relief for expense reimbursement under Section 9.5 of the IWPCA. As such, Count III

     of Plaintifrs Complaint must be djsmissed.




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                                       STATEMENT OF FACTS

           On June 19, 2024, Plaintiff filed a Complaint against Cornerstone alleging three causes of

   action. Dkt. 1, Complaint. Defendant has filed with this motion their answers and affirmative

   defenses to Counts I & II, which allege violations of the Fair Labor Standards Act and Illinois

   Minimum Wage Law for failure to pay overtime and all time worked. Id at 12-15. At issue here is

   Count III of the Complaint, in which Plaintiff alleges a violation of the IWPCA for failure to

   adequately reimburse Plaintiff for equipment, internet, cell phone, and remote office expenses. Id.

   at 2, 15-18.

           Plaintiff failed to include any allegations, direct or implied, that she submitted the claimed

   expenses to Cornerstone for reimbursement. Plaintiff does not specify the costs of the alleged

   expenses, nor does she attach supporting documentation of said expenses to the Complaint.

   Cornerstone first learned of such expenses upon receipt of the Complaint as Cornerstone has no

   record of Plaintiff submitting any expenses for reimbursement to date. Although Cornerstone does

   not have a written reimbursement policy, they do allow employees to submit necessary expenses

   for reimbursement.

                                          LEGAL STANDARD

           A Rule 12(b)(6) motion to dismiss attacks the legal sufficiency of a plaintiff's complaint.

   Gibson v. City of Chi., 910 F.2d 1510, 1520 (7th Cir. 1990). In evaluating such a motion, the court

   takes all well-pleaded allegations as true. Appert v. Morgan Stanley Dean Witter, Inc., 673 F.3d 609,

   622 (7th Cir. 2012). The court need not accept as true, however, legal conclusions or threadbare

   recitals of the elements of a cause of action, supported by mere conclusory statements. Ashcroft v.

   Iqbal, 556 U.S. 662,678 (2009); Yeftich v. Navistar, Inc., 722 F.3d 911,915 (7th Cir. 2013). To

   survive a motion to dismiss, the complaint must "state a claim to relief that is plausible on its face."



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   Id. "[A]llegations must plausibly suggest that the plaintiff has a right to relief, raising that possibility

   above a 'speculative level;' if they do not, the plaintiff pleads itself out of court." E.E.O.C. v.

   Concentra Health Servs., Inc., 496 F.3d 773, 776 (7th Cir. 2007). A complaint that contains

   allegations "merely consistent with a defendant's liability ... stops short of the line between

   possibility and plausibility of entitlement to relief." Iqbal, 556 U.S. at 678 (internal quotations

   omitted).

                                                ARGUMENT

           Count III of Plaintiff's Complaint alleges Defendants failed to reimburse necessary

   expenses in violation of the IWPCA. However, Plaintiff fails to present any evidence or otherwise

   allege that she submitted the alleged expenses for reimbursement. Under the IWCPA, employers

   must "reimburse an employee for all necessary expenditures or losses incurred by the employee

   within the employee's scope of employment and directly related to services performed for the

   employer." 820 ILCS 115/9.5. The same provision also requires employees to "submit any

   necessary expenditure with appropriate supporting documentation within 30 calendar days

   after incurring the expense, except that an employer may provide additional time for submitting

   requests for reimbursement in a written expense reimbursement policy." Id. (emphasis added).

   Accordingly, to survive a motion to dismiss, Plaintiff must have submitted any of the claimed

   necessary expenses with appropriate supporting documentation within 30 days of incurring the

   expense. Prokhorov v. IIK Transp., Inc., 20 CV 6807, 2024 WL 3694523, at *12 (N.D. Ill. Aug.

   7, 2024).

           Plaintiff asserts she paid out of pocket for necessary expenses including equipment,

   internet, cell phone, and remote office expenses. However, Plaintiff provides no evidence that she

   submitted the alleged expenses for reimbursement within 30 days, let alone at all. The Complaint



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   merely lists various expenses without particularity to when Plaintiff incurred the expenses, the cost

   of each expense, and, in some cases, what the expense was. The IWPCA does not allow employees

   to make claims for vague list items like "remote office expenses." To the contrary, the IWPCA

   requires employees to attach supporting documentation to any requests for reimbursement. Per

   Section 9 .5 of the IWPCA, "[ a]n employer is not responsible for losses due to an employee's own

   negligence." Accordingly, Defendant cannot be responsible for failing to reimburse Plaintiff for

   expenses she neglected to submit. The IWPCA provides a clear path for expense reimbursement

   for employees; one that Plaintiff failed to follow both in the course of her employment with

   Defendant and the allegations in Count III of the Complaint.

          Even if Plaintiff did allege that she submitted the alleged expenses for reimbursement,

   Cornerstone has no record of Plaintiff submitting expenses for reimbursement at any time during

   the course of her employment. It is the precedent of this Court that employees cannot succeed on

   a claim for reimbursement under the IWPCA without alleging or otherwise providing evidence of

   requests for reimbursement made and unfulfilled by their employer. Prokhorov, 2024 WL

   3694523, at * 12. As there is neither evidence nor allegations that Plaintiff made request for

   reimbursements that went unfulfilled by Cornerstone, Plaintiff fails to state a claim that

   Cornerstone violated Section 9.5 of the IWPCA. Accordingly, Count III of the Complaint must be

   dismissed.

                                            CONCLUSION

          For the foregoing reasons, Defendant Cornerstone respectfully requests that the Court dismiss

   Count III of Plaintiffs Complaint against Defendant Cornerstone pursuant to Rules l 2(b)( 6) of the

   Federal Rules of Civil Procedure.




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                                             Respectfully submitted,

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